                 UNITED STATES DISTRICT COURT
                                         for the
                                   District of Kansas

COI Robert Craft,                          )
      Plaintiff,                           )
                                           )
v.                                         ) Case No: 6:23-cv-01081-JAR-
                                           ) GEB
CSI Jacob Townsend,                        )
CSI John Linneman,                         )
Administrator Teresa Glendening,           )
Warden Hazel Peterson, and                 )
                                           )
Deputy Secretary of Facilities             )
Management Joel Hrabe                      )
                                           )
      Defendants
___________________________/

 ________________________________________________________________________

      Notice of Service to the United States and District
                            Attorney
 1. Let be known to this honorable court the United States has been served copies

     of summons and complaint per Fed. R. Civ. P. 4(i)(3) and

 2. United States Offices Served

     Office Name: Attorney General of United States per Fed. R. Civ. P. 4(i)(B)


     Office: United States Department of Justice
     Address: 950 Pennsylvania Avenue, NW
     City, State, and Zip Code: Washington, DC 20530-0001

     The aforementioned documents were delivered and signed for on May 15, 2023,
     per USPS Tracking 7020 1290 0000 3979 8849




                                                                            Page 1 of 2
   Office Name: United States District Court – District of Kansas – District
   Attorney per Fed. R. Civ. P. 4(i)(A)(ii)

   Address: 1200 Epic Center
   Address: 301 N. Main
   City, State, and Zip Code: Wichita, KS 67202

   The aforementioned documents we delivered and signed by Agent on May 12,
   2023, per USPS Tracking Number 9590 9402 5866 0038 5027 21



3. This affidavit is submitted in accordance with 28 U.S. Code § 1746 - Unsworn

   declarations under penalty of perjury, Plaintiff hereby declares under the

   penalty of perjury that the foregoing is true and correct to the best of Plaintiff’s

   knowledge.



                                    Certificate of Service

       I HEREBY CERTIFY that a true copy of the foregoing will be sent to

Defendants per Fed. R. Civ. P. 5(b)(2) – (A), (B)(i), or (C)



                                                         s/___________________________
                                                                       COI Robert Craft
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                                                                   Stockton, KS 67669
                                                             Telephone: 941-270-0938
                                                          Email: craft.kdoc@gmail.com




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